             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
          CRIMINAL CASE NO. 1:12-cr-000066-MR-DLH-5


UNITED STATES OF AMERICA        )
                                )
                                )
                 vs.            )             ORDER
                                )
                                )
RONALD WALSH.                   )
_______________________________ )


     THIS MATTER is before the Court upon the Defendant’s Notice of

Appeal and Motion for Reconsideration of the Magistrate Judge's decision

to revoke the Defendant’s bond [Doc. 55].

     Subsequent to the Magistrate Judge’s oral order to revoke the

Defendant’s bond, the Defendant entered a guilty plea pursuant to a plea

agreement. [See Doc. 56]. By virtue of his guilty plea, the Defendant is

now being detained pending sentencing pursuant to 18 U.S.C. § 3143. As

such, the Defendant’s appeal of the Magistrate Judge's revocation of his

pretrial release has been rendered moot. See United States v. Bracken,

No. 1:11cr74, 2011 WL 4808265, at *2 (W.D.N.C. Oct. 11, 2011).

     IT IS, THEREFORE, ORDERED that the Defendant's Appeal and

Motion for Reconsideration [Doc. 55] are both DENIED AS MOOT.



    Case 1:12-cr-00066-MR-DLH   Document 72   Filed 05/03/13   Page 1 of 2
 IT IS SO ORDERED.          Signed: May 3, 2013




                                      2

Case 1:12-cr-00066-MR-DLH     Document 72         Filed 05/03/13   Page 2 of 2
